




NO. 07-09-0002-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



FEBRUARY 11, 2009



______________________________





DAVID BALLARD, ET AL., APPELLANTS



V.



DENNIS LEE HOLT, ET. AL., APPELLEES



_________________________________



FROM THE 31ST DISTRICT COURT OF WHEELER COUNTY;



NO. 12,012; HONORABLE STEVE EMMERT, JUDGE



_______________________________



Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.

MEMORANDUM OPINION

Pending before this Court are two motions to dismiss this purported appeal filed by both Appellants and Appellees in which they maintain that Appellants failed to timely invoke the jurisdiction of this Court. &nbsp;We grant Appellant’s motion
 and dismiss the appeal. &nbsp;&nbsp;Tex. R. App. P. 42.1(a)(1). &nbsp;Appellee’s motion is rendered moot. &nbsp;

Having dismissed the appeal at the request of Appellants, no opinion having been rendered, no motion for rehearing will be entertained, and our mandate will issue forthwith.



Patrick A. Pirtle

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice


